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                        EXHIBIT 19
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                        UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.

                    Plaintiffs,                       Civil Action No. ________________

             v.


  NATIONAL INSTITUTES OF HEALTH;
  MATTHEW MEMOLI, M.D., M.S., in his
  official capacity as Acting Director of the
  National Institutes of Health; U.S.
  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; and DOROTHY
  FINK, M.D., in her official capacity as
  Acting Secretary of the U.S. Department of
  Health and Human Services,

                  Defendants.

                          DECLARATION OF DENISE BARTON

              I, Denise Barton, declare as follows:

1. I am a resident of the Commonwealth of Massachusetts. I am over the age of 18. I have been

   an attorney since 1994 and am licensed to practice in the Commonwealth of Massachusetts.

   If called as a witness, I could and would testify competently to the matters set forth below.

2. I am currently employed by the University of Massachusetts, in its Office of the General

   Counsel, as its Chief Deputy General Counsel.

3. As Chief Deputy General Counsel for the University of Massachusetts, I have personal

   knowledge of the matters set forth below or have knowledge of the matters based on my

   review of information and records provided to me by University of Massachusetts employees

   and believe that information to be true.

4. The University of Massachusetts includes its five campuses (the University of Massachusetts


                                                                                                   1
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   Amherst, the University of Massachusetts Boston, the University of Massachusetts Chan

   Medical School, the University of Massachusetts Dartmouth, and the University of

   Massachusetts Lowell), as well as the University of Massachusetts Office of the President.

   See M.G.L. ch. 75. The University of Massachusetts maintains business records in the

   ordinary course of University of Massachusetts business which include, inter alia, records

   concerning funding received from the National Institutes of Health by the University of

   Massachusetts.

5. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants

   Policy Statement: Indirect Cost Rates (“NIH IDC Notice”), which purports to immediately

   reduce indirect costs payments to 15%.

6. The NIH IDC Notice severely impacts the University of Massachusetts in its entirety: all five

   campuses will suffer short-term and long-term detriment because of the NIH IDC Notice’s

   impact. People will lose their livelihoods, research advances in the world’s most deadly

   diseases will be imperiled in ways that are likely unrecoverable and, as a result, people will

   likely needlessly suffer the consequences, including illness and death. I have provided the

   following information, in this foreshortened time period, to explain the NIH IDC Notice’s

   impact on just two of the University of Massachusetts’ campuses and the people whose

   research they serve: the University of Massachusetts Chan Medical School (“UMass Chan

   Medical School”) and the University of Massachusetts Amherst (“UMass Amherst”),

   reserving rights to supplement this declaration with further information concerning the

   impact on those campuses as well as the impacts on the remainder of the University of

   Massachusetts.



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7. In Federal fiscal year 2024, University of Massachusetts campuses received NIH funding to

   support over 501 projects, totaling $248 million dollars, of which more than $80 million

   dollars were for IDCs.

8. UMass Chan Medical School is the Commonwealth of Massachusetts’ only public medical

   school. As such, UMass Chan Medical School serves a unique role in the education of

   physicians, nurses, and scientists as well as in the performance of research that serves the

   public good.

9. In keeping with the University of Massachusetts’ public mission, UMass Chan Medical

   School focuses its research efforts on addressing unmet medical needs in ways that benefit all

   people in the Commonwealth and beyond.

10. To carry out its public medical research mission, UMass Chan Medical School relies on NIH

   funding. NIH funding is divided into direct costs (“DC”) and indirect costs (“IDC’). The

   DC portion of NIH funding pays for such things as the research staff who perform the

   research, the research reagents they use, and other expenditures made by research staff in

   performing the work itself. The IDC portion of the funding supports such things as the

   expenses associated with the administrative staff, including salaries, required to maintain

   rigorously compliant research operations and the highly specialized laboratory and clinical

   research facilities in which the research is performed, including, but not limited to, special air

   handling requirements, research animal quarters, and research facilities suitable for

   optimizing biosafety and radiation safety.

11. NIH IDC helps to defray, but does not totally cover, costs associated with the conduct of

   UMass Chan Medical School research that are not directly paid by a grant. The NIH’s




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reduction in IDC would severely hamper NIH-funded research at UMass Chan Medical

School in at least the following ways:

               a. Conduct of many areas of laboratory research relies on the availability of

                  sophisticated equipment, often provided by an institution, like UMass

                  Chan Medical School. Even if an NIH grant covers the cost of a piece of

                  equipment, the IDC does not cover certain significant expenses related to

                  that equipment, including the space and cost of installation and

                  maintenance including renovations to physical structures and wiring.

                  UMass Chan Medical School also has to provide necessary infrastructure

                  (for example, some equipment requires the use of distilled water; many

                  pieces of equipment require linkage to a computer and network for data

                  transfer) and pay for services to keep the equipment in good shape. Loss

                  of IDC will curtail the ability of UMass Chan Medical School to provide

                  and keep necessary equipment in good shape. Malfunctioning equipment

                  can produce faulty data and loss of equipment would bring research

                  relying on that equipment to a halt, which could erase several years of

                  progress on a project or grant. Though IDC dollars do not cover the total

                  costs UMass Chan Medical School incurs in completing a project, they do

                  greatly reduce them.

               b. IDC also pays a portion of the costs associated with maintaining a

                  workforce that includes many highly-skilled employees that support

                  research. These workforce members include veterinarians and technicians

                  skilled in animal care, technicians skilled in the safe handling and disposal



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                      of radioactive substances or toxic chemicals, nurses and study

                      coordinators skilled in clinical trials support and keeping study

                      participants safe, statisticians and individuals skilled in bioinformatics

                      whose skills are critical to effective study design and analyses, and staff

                      members that ensure that human subjects research is compliant with

                      federal and state requirements. These individuals would lose their jobs if

                      UMass Chan Medical School does not intake adequate IDC to afford their

                      salaries. Loss of the individuals that comprise this workforce would bring

                      research to a halt.

12. UMass Chan Medical School has a Negotiated Indirect Cost Rate Agreement (“NICRA”)

   with NIH, effective as of 6/6/23. Ex. A.

13. The IDC Rate in UMass Chan Medical School’s NICRA is 67.5%.

14. UMass Chan Medical School receives approximately $200 million dollars in funding

   annually from NIH. Of that total annual amount, approximately $138 million dollars are for

   DCs and approximately $62 million dollars are for IDCs, based on the NIH IDC rate of

   67.5%, with certain direct cost categories (such as equipment, patient care costs, and

   subcontracts) exempted from calculating the IDC, resulting in a blended IDC rate of just

   under 45% on the NIH grant portfolio of UMass Chan Medical School. The need for these

   IDCs to perform the research funded by NIH grants is evaluated by NIH periodically, and

   UMass Chan Medical School has calculated and demonstrated to NIH that its IDCs exceed

   (by approximately 45%) what is paid for through NIH IDC designated funding




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15. If implemented, the NIH IDC Notice cutting IDC funding to 15% would result in a loss to

   UMass Chan Medical School of $40 to $50 million annually that UMass Chan Medical

   School uses to support its research programs.

16. The loss of these funds will immediately impact UMass Chan Medical School’s ability to

   draw critical funds used to pay expenses associated with utilities and basic maintenance on

   the operational research facilities, debt service, payroll, and other infrastructure associated

   with UMass Chan Medical School’s research and clinical trials, examples of which follow.

17. UMass Chan Medical School’s use of IDCs was planned as the primary source of funding for

   the operating costs (utilities and required maintenance) and for coverage of debt service

   obligations. UMass Chan Medical School would be forced to cover those obligations with

   other funds, which would result in two remaining options, to run operating deficits which

   would be funded from reserves, or to furlough employees or do across-the-board salary

   reductions. This could then result in downstream consequences that would damage UMass

   Chan Medical School’s prospects for future success including, but not limited to, an adverse

   effect on bond ratings. UMass Chan Medical School also is a major stimulatory factor on the

   economy in Worcester county, which would have adverse consequences to the level of

   commerce and employment in the community.

18. UMass Chan Medical School draws from committed NIH funds on a biweekly basis. At the

   time of the next draw, if the funds are diminished in accord with the NIH IDC Notice, the

   reduced IDC rate will impact UMass Chan Medical School significantly: it will need to

   reduce expenditures associated with ongoing medical and scientific research and clinical

   trials by approximately $4 million per month, which would lead to an operating deficit and

   the potential for negative consequences including furloughs, layoffs, delayed payments on



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   our debt, adverse impact on the credit rating of the University, and inability to meet other

   obligations and/or to cease other operations.

19. If UMass Chan Medical School cannot continue to fund payroll with the already-committed

   NIH IDC funding, this will not only result in people losing their livelihoods and patients

   losing or suffering consequences to their lives, it will in the near and long term undermine

   some of the greatest assets that the University of Massachusetts and the Commonwealth

   possess: the human workforce that drives medical and scientific innovation and saves lives

   every day.

20. Such a precipitous loss of funding may well force UMass Chan Medical School to reduce its

   research and clinical study activity to, by way of example only, at or near the “COVID

   shutdown” level of functioning adopted in April and May of 2020. At that point in 2020,

   UMass Chan Medical School staffed the lab facilities only at about 15% of the baseline level

   of staffing, which was the minimum sufficient to maintain the viability of irreplaceable cell

   lines and laboratory animals. It is not possible at this time to determine if such a level of

   shutdown could ameliorate the financial impact of the implementation of the NIH IDC

   Notice, but one thing is clear: If UMass Chan Medical School is forced, by the

   implementation of the NIH IDC Notice, to suspend or cancel ongoing clinical trials for

   potentially life-saving investigational therapies, the consequences to individual patients could

   include their death or the advancement of their condition to the point where recovery from it

   is no longer possible. In almost all circumstances, even a pause will render it difficult if not

   impossible to continue the work because of numerous factors, not least of which is the loss of

   the core and highly skilled workforce necessary to conduct the research.

21. NIH funding supports a large segment of UMass Chan Medical School’s research effort.



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   NIH funds are awarded competitively based on rigorously reviewed grant applications that

   are very selectively awarded to only that research that is impactful on human health and of

   the highest caliber.

22. Approximately one third of UMass Chan Medical School’s clinical trials are funded by the

   NIH.

23. In addition, UMass Chan Medical School’s UMass Center for Clinical and Translational

   Science is one of 60 leading medical institutions nationwide funded by the NIH-NCATS

   Clinical and Translational Science Awards (CTSA) Program. The CTSA Program supports a

   national network of medical institutions that speeds the translation of research discoveries

   into improved care. The institutions offer expertise, resources and partnerships at the national

   and local levels to improve the health of individuals and communities. The CTSA Program

   also provides education, training and career support at all levels. All of this makes use of

   specialized clinical trial facilities whose operations and maintenance are funded through

   NIH-IDCs.

24. UMass Chan Medical School’s research ranges from basic science breakthroughs to the

   development and delivery of advanced therapies, like gene therapy and RNA therapeutics.

   For example, UMass Chan Medical School research has led to breakthroughs in neurologic

   diseases such as Amyotrophic Lateral Sclerosis (ALS), genetic diseases such as Tay-Sachs,

   cystic fibrosis, Duchenne muscular dystrophy and sickle cell disease, as well as in diseases

   such as cancer, cardiovascular disease, and emerging infectious diseases.

25. Also by way of example, UMass Chan Medical School’s scientists have developed platform

   technologies based on discoveries in RNA biology, including the work of UMass Chan

   Medical School’s Nobel Laureates, Craig Mello and Victor Ambros. These platform



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   technologies have, in turn, led directly to novel gene therapies and RNA therapeutics that are

   being used at UMass Chan Medical School – and around the world – to treat previously

   incurable diseases.

26. NIH funding also supports a large proportion of the clinical trials integral to UMass Chan

   Medical School’s research work including, but not limited to, supporting the funding of the

   research staff who oversee and directly perform clinical trials, many addressing diseases for

   which the current therapy is inadequate.

27. UMass Chan Medical School currently has 529 active clinical trials, with 10,987 people

   enrolled as clinical trial participants. Those people range in age from newborn to over 65

   years old.

28. Of the 529 active clinical trials currently underway at UMass Chan Medical School, 339

   (65%) of those clinical trials are therapeutic, meaning that those clinical trials are

   investigating and currently providing access to innovative new treatments for a broad range

   of diseases, including cancer, lupus and autoimmune disorders, congenital disorders,

   psychiatric disorders (such as schizophrenia and severe depression), skin diseases (such as

   vitiligo and psoriasis), neurological diseases (such as Alzheimer’s and other dementias,

   multiple sclerosis and ALS) and neurodevelopmental disorders (such as autism).

29. The implementation of the NIH IDC Notice will likely result in the suspension and/or

   cancellation of ongoing clinical trials for potentially life-saving investigational therapies.

   The consequences to individual patients could include their death or the advancement of their

   condition to the point where recovery from it is no longer possible.




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30. A few examples of people who have benefitted from the UMass Chan Medical School

   clinical trials conducted in facilities maintained with NIH-IDC funding or who are

   part of research or clinical trials reliant upon NIH-IDC funding include:

                a. Impact on the lives of patients with rare diseases. A 12-month-old infant

                    was referred to UMass Chan Medical School after being diagnosed with a

                    rare, fatal genetic disease called Tay-Sachs disease. Researchers at UMass

                    Chan Medical School, supported by NIH funded staff, services, and

                    facilities, provided the infant with a completely novel experimental gene

                    therapy that was not available from any commercial biopharma company

                    because of the market limitations inherent in the rarity of the condition.

                    The infant, along with her family, traveled to UMass Chan Medical

                    School in Worcester, Massachusetts and safely received the therapy using

                    a variety of NIH-supported services. While the therapy has not been a

                    complete cure, the progression of the disease has slowed and the child has

                    survived and has retained some abilities that have allowed her to

                    meaningfully interact with her family approximately a year after the

                    treatment was given.

                b. Life-saving experimental treatments. The lives of a western

                    Massachusetts mother and her adult son were saved by UMass Chan

                    Medical School’s clinical research support, after they accidentally

                    ate toxic mushrooms. Upon their arrival in Worcester, Massachusetts

                    they began treatment with Dr. Stephanie Carreiro, emergency physician

                    and toxicologist, which, in life-saving part, involved getting special



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             permission from the FDA to provide an antidote that is currently in

             investigation. Obtaining and administering the experimental

             antidote was enabled by infrastructure, services, and procedure

             provided by the NIH-funded UMass Center for Clinical Science,

             including the UMass Chan IRB, Office of Clinical Research, and

             UMMH-UMass Chan Investigational Pharmacy. In addition, Dr.

             Carreiro also benefitted from CTSA Program funding through a

             UMCCTS KL2 Scholar Award that provided training in clinical

             research.

          c. Improvement in the quality of the lives of patients with chronic conditions.

             A 28 year old pharmaceutical scientist from Pennsylvania, diagnosed with

             lupus at age 22, came to UMass Chan Medical School with lupus

             symptoms that impacted her ability to attend college classes and work to

             participate in an individualized clinical research study exploring the use of

             CAR T cell treatment in lupus nephritis for severe or nonresponsive lupus.

             This patient is one of only a dozen patients in the United States to have

             undergone CAR T cell treatment for lupus. This patient’s first treatment

             in March, 2024 required a two-week hospital stay, during which the

             patient underwent lymphodepletion chemotherapy, an infusion of their

             CAR T cells, and was monitored by UMass Chan Medical School clinical

             research personnel in the Blood and Marrow Transplant program.

          d. Improving treatment options and preventative medicine. The Individual

             Genomic Variation Consortium (“IGVP”) is a partnership between



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                      scientists within the National Human Genome Research Institute (one of

                      NIH’s Institutes), industry partners and universities, including UMass

                      Chan Medical School. UMass Chan Medical School investigators have

                      been pinpointing tens of thousands of positions in the human genome

                      which may influence disease. In order to apply this knowledge to improve

                      treatment options and preventative medicine, scientists need to have a

                      better understanding of how these regions function and where in the body

                      they are active. The work UMass Chan Medical School is doing in this

                      project is a predictive modeling component of the IGVF Consortium,

                      which aims to systematically study the functional impact of genetic

                      variants and their influence on human diseases and traits by developing

                      and applying cutting-edge computational and statistical methods to predict

                      the functional impacts of disease-associated genetic variants. The

                      $737,341 total grant award from NIH to UMass Chan Medical School for

                      this work includes both the DCs and the IDCs and the impact of the

                      implementation of the NIH IDC Notice on not just UMass Chan Medical

                      School but on the other grantees working on this project, would be

                      significant.

31. UMass Amherst will also be severely impacted by the implementation of the NIH IDC

   Notice. UMass Amherst has a Negotiated Indirect Cost Rate Agreement (“NICRA”) with

   NIH. Ex. B.

32. In Federal fiscal year 2024, UMass Amherst will receive approximately $44.8 million dollars

   in funding from NIH. Of that total amount, approximately $31.7 million dollars are for DCs



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   and approximately $13.1 million dollars are for IDCs, based on the NIH Federal IDC rate of

   61%, with certain DC categories (such as equipment and subcontracts) exempted from

   calculating the IDC, resulting in a blended IDC rate of approximately 41.3 % on the NIH

   grant portfolio of UMass Amherst.

33. The work done by UMass Amherst on these projects provides education and training in

   Biomedical Engineering, Chemical Engineering, Civil Engineering, Electrical Engineering,

   Mechanical Engineering, Agriculture, Biology, Public Health and Health Sciences,

   Mathematics, Chemistry, Psychology, and other programs. UMass Amherst, along with

   other UMass campuses, is the largest provider of Science, Technology, Engineering and

   Mathematics (“STEM”) workforce to the Massachusetts economy.

34. In the last decade, UMass Amherst has hired 37 new faculty members and 28 staff members

   in Life Sciences through strategic investment in the Institute for Applied Life Sciences,

   established with an investment of $95 million from the Commonwealth and more than $50

   million from the University of Massachusetts for the Institute for Applied Life Sciences’

   facilities and equipment. The Institute relies on a portion of the IDC funding provided to the

   campus for grants associated with the Institute, including the IDC funding provided by the

   NIH.

35. There are 30 Life Sciences Core Facilities with professional staffing at UMass Amherst; in

   total, there are 90 such Core Facilities across the University of Massachusetts. To operate its

   Core Facilities, UMass Amherst purchases necessary and sophisticated scientific equipment.

   This equipment, and the professional staff who work there, are administered by UMass

   Amherst’s Institute for Applied Life Sciences. Running the Core Facilities requires

   significant capital investments and also requires continuous funding for the operations that



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   support hundreds of researchers on not only the UMass Amherst campus, but across all

   University of Massachusetts campuses as well as small businesses in Massachusetts. Funding

   for the debt service on the University of Massachusetts’ capital investment, staffing, and

   operations relies in part on the IDCs to which NIH has committed as well as IDCs from other

   federal agencies. The implementation of the NIH IDC Notice will likely cause UMass

   Amherst to reduce the scope and support for Core Facilities which rely on approximately 4%

   of the IDC funding committed to UMass Amherst for a significant portion of its budget,

   including the IDC funding provided by the NIH.

36. Another example of the detrimental impact on UMass Amherst, and the people its work

   serves, that will result from the implementation of the NIH IDC Notice, concerns the NIH-

   funded National Institute on Aging project “Massachusetts AI and Technology Center for

   Connected Care in Aging and Alzheimer's Disease (MAITC)”. The project is a collaboration

   of UMass Amherst and Brigham and Women’s Hospital, and also involves Brandeis

   University, Massachusetts General Hospital, and Northeastern University. MAITC fosters

   interdisciplinary research on the development, validation, and translation of AI-enhanced

   technologies to improve connections between older adults, caregivers, and clinicians in order

   to more effectively support healthy aging and the care of people living with Alzheimer’s

   disease and related dementias. MAITC provides support to other universities and private

   sector entities to support projects that accomplish this mission. See, e.g.,

   https://massaitc.org/. Since fiscal year 2021, UMass Amherst has received a total of $18

   million dollars to support this work, with $12.2 million dollars in DCs and $5.8 million in

   IDCs. UMass Amherst will meet its obligations under the current NIH agreement, but if the

   IDC rate is reduced to 15%, the IDCs paid by NIH to UMass Amherst will be reduced to



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   $1.83 million, a reduction in IDC reimbursement of nearly $4 million from the amount NIH

   agreed to pay. This would eventually require a significant reduction in the scope of the work

   and, in doing so, would negatively impact the improvements the research seeks to make in

   the lives of the people – those with Alzheimer’s disease and dementia – and those who care

   for them.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

               Executed on February 9, 2025, at Westborough, Massachusetts.

                               /s/ Denise Barton
                               Denise Barton
                               Chief Deputy General Counsel
                               University of Massachusetts, Office of the General Counsel
                               50 Washington Street
                               Westborough, MA 01581




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                                  COLLEGES AND UNIVERSITIES RATE AGREEMENT


      EIN: 1043167352A1                                                            Date: 06/06/2023
      ORGANIZATION:                                                                FILING REF.: The preceding
      University of Massachusetts Medical School                                   agreement was dated
      55 Lake Ave.                                                                 09/16/2022
      North - S1-858
      Worcester, MA 01655

      The rates approved in this agreement are for use on grants, contracts and other agreements
      with the Federal Government, subject to the conditions in Section III.

      SECTION I: INDIRECT COST RATES

      RATE TYPES:           FIXED     FINAL      PROV. (PROVISIONAL)                  PRED. (PREDETERMINED)

                 EFFECTIVE PERIOD
      TYPE       FROM               TO                 RATE(%) LOCATION              APPLICABLE TO
      PRED.      07/01/2022         06/30/2026               67.50 On-Campus         Research
      PRED.      07/01/2022         06/30/2026               26.00 Off-Campus        Research
      PRED.      07/01/2022         06/30/2026               68.00 On-Campus         Research DOD Contract
      PRED.      07/01/2022         06/30/2026               27.80 Off-Campus        Research DOD Contract
      PRED.      07/01/2022         06/30/2026               18.25 All Locations     OSA-CM (SR#3)
      PRED.      07/01/2022         06/30/2026               36.00 On-Campus         Other Sponsored Activities
      PRED.      07/01/2022         06/30/2026               26.00 Off-Campus        Other Sponsored Activities
      PROV.      07/01/2026         Until Amended                                    Use same rates and conditions as
                                                                                     those cited for fiscal year ending
                                                                                     June 30, 2026.



      *BASE
      Modified total direct costs, consisting of all direct salaries and wages, applicable fringe benefits,
      materials and supplies, services, travel and up to the first $25,000 of each subaward (regardless of the
      period of performance of the subawards under the award). Modified total direct costs shall exclude
      equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
      and fellowships, participant support costs and the portion of each subaward in excess of $25,000. Other
      items may only be excluded when necessary to avoid a serious inequity in the distribution of indirect
      costs, and with the approval of the cognizant agency for indirect costs.




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     ORGANIZATION: University of Massachusetts Medical School
     AGREEMENT DATE: 06/06/2023



      SECTION II: SPECIAL REMARKS

      TREATMENT OF FRINGE BENEFITS:
      Fringe benefits applicable to direct salaries and wages are treated as direct costs.

      TREATMENT OF PAID ABSENCES:
      Vacation, holiday, sick leave pay and other paid absences are included in salaries and wages and are
      claimed on grants, contracts and other agreements as part of the normal cost for salaries and wages.
      Separate claims are not made for the cost of these paid absences.




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     ORGANIZATION: University of Massachusetts Medical School
     AGREEMENT DATE: 06/06/2023



      1. The following rate applies to research effort performed at the Massachusetts Biologics Laboratory
      (MBL):


      TYPE           FROM             TO                        RATE
      PRED.          07/01/22         06/30/26                  26.0%
      PROV.          07/01/26         Until Amended             Use same rates and conditions
                                                                as those cited for fiscal year ending
                                                                June 30, 2026.

      The 26% rate noted above applies to the administrative costs of research at MBL. The facilities costs are
      directly charged for the space used by each project.

      2. Fringe benefits are claimed using approved rates contained in the Massachusetts State-Wide Cost
      Allocation Plan. The following additional fixed fringe benefit charges are approved for the University:


                                                      FYE               FYE
                                                      06/30/23         06/30/24
      Workers' Compensation Insurance                 .14%(S&W)        .14%(S&W)
      Medicare                                        (1)              (1)
      Health and Welfare                              .85%(S&W)        .77%(S&W)
      Unemployment                                    (1)              (1)

      (1) Beginning for Fiscal Year 2008 the State negotiated rate incorporated Unemployment Insurance and
      Medicare in the Federally negotiated State "6B" rate.

      3. Commonwealth Medicine is the public, non-profit consulting and service organization founded by the
      University of Massachusetts Medical School. The Other Sponsored Acivities - Commonwealth Medicine
      (OSA-CM) base consists of the direct costs of public service programs that have evolved through
      partnerships with State agencies.

      This separate OSA-CM rate receives an allocation of applicable general and administrative and
      information services costs only. Departmental administration, sponsored projects administration and
      facilities costs are not applicable to these programs.

      This rate agreement updates fringe benefit rates.

      ** Your next fringe benefit proposal based on actual costs for fiscal year ending June 30, 2023 will be
      due in our office by December 31, 2023.

      ** Your indirect cost rate proposal for the fiscal year ending June 30, 2025 will be due in our office by
      December 31, 2025.

      Equipment means tangible personal property (including information technology systems) having a useful
      life of more than one year and a per-unit acquisition cost which equals or exceeds $5,000.


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     ORGANIZATION: University of Massachusetts Medical School
     AGREEMENT DATE: 06/06/2023



      SECTION III: GENERAL

      A.        LIMITATIONS:
      The rates in this Agreement are subject to any statutory or administrative limitations and apply to a given grant, contract or other
      agreement only to the extent that funds are available. Acceptance of the rates is subject to the following conditions: (1) Only costs
      incurred by the organization were included in its indirect cost pool as finally accepted: such costs are legal obligations of the
      organization and are allowable under the governing cost principles; (2) The same costs that have been treated as indirect costs are not
      claimed as direct costs; (3) Similar types of costs have been accorded consistent accounting treatment; and (4) The information
      provided by the organization which was used to establish the rates is not later found to be materially incomplete or inaccurate by the
      Federal Government. In such situations the rate(s) would be subject to renegotiation at the discretion of the Federal Governm ent.

       B.       ACCOUNTING CHANGES:
      This Agreement is based on the accounting system purported by the organization to be in effect during the Agreement period.
      Changes to the method of accounting for costs which affect the amount of reimbursement resulting from the use of this Agreeme nt
      require prior approval of the authorized representative of the cognizant agency. Such changes include, but are not limited to, changes
      in the charging of a particular type of cost from indirect to direct. Failure to obtain approval may result in cost disallowa nces.

      C.        FIXED RATES:
      If a fixed rate is in this Agreement, it is based on an estimate of the costs for the period covered by the rate. When the actual costs for
      this period are determined, an adjustment will be made to a rate of a future year(s) to compensate for the difference between the
      costs used to establish the fixed rate and actual costs.

      D.        USE BY OTHER FEDERAL AGENCIES:
      The rates in this Agreement were approved in accordance with the authority in Title 2 of the Code of Federal Regulations, Part 200 (2
      CFR 200), and should be applied to grants, contracts and other agreements covered by 2 CFR 200, subject to any limitations in A
      above. The organization may provide copies of the Agreement to other Federal Agencies to give them early notification of the
      Agreement.

       E.       OTHER:
      If any Federal contract, grant or other agreement is reimbursing indirect costs by a means other than the approved rate(s) in this
      Agreement, the organization should (1) credit such costs to the affected programs, and (2) apply the approved rate(s) to the
      appropriate base to identify the proper amount of indirect costs allocable to these programs.


      BY THE INSTITUTION:                                                          ON BEHALF OF THE GOVERNMENT:

      University of Massachusetts Medical School                                   DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                                                                                                   Digitally signed by Darryl W. Mayes -S
                                                                                   (AGENCY)
      (INSTITUTION)
                                                                                   Darryl W. Mayes -S
                                                                                                                   DN: c=US, o=U.S. Government, ou=HHS, ou=PSC,
                                                                                                                   ou=People, 0.9.2342.19200300.100.1.1=2000131669,
                                                                                                                   cn=Darryl W. Mayes -S
                                                                                                                   Date: 2023.06.26 13:01:57 -04'00'

                                                                                   (SIGNATURE)
      (SIGNATURE)

       John C. Lindstedt                                                           Darryl W. Mayes
      (NAME)                                                                       (NAME)

            Executive Vice Chancellor, A&F                                         Deputy Director, Cost Allocation Services
      (TITLE)                                                                      (TITLE)

        June 27, 2023                                                              06/06/2023
      (DATE)                                                                       (DATE)


                                                                                   HHS REPRESENTATIVE: Kathryn Dissinger
                                                                                   TELEPHONE:                        (212) 264-2069




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                        EXHIBIT B
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                               COLLEGES AND UNIVERSITIES RATE AGREEMENT

    EIN: 043167352                                                       DATE:09/9/2022
    ORGANIZATION:                                                        FILING REF.: The preceding
    University of Massachusetts at Amherst                               agreement was dated
    340 Whitmore Administration Bldg.                                    08/09/2021
    181 Presidents Drive
    Amherst, MA 01003-9313

    The rates approved in this agreement are for use on grants, contracts and other
    agreements with the Federal Government, subject to the conditions in Section III.


    SECTION I: Facilities And Administrative Cost Rates
    RATE TYPES:          FIXED            FINAL              PROV. (PROVISIONAL)   PRED. (PREDETERMINED)

                     EFFECTIVE PERIOD

    TYPE             FROM                 TO                     RATE(%) LOCATION         APPLICABLE TO
    FINAL            07/01/2021           06/30/2022               59.50 On-Campus        Research
    PRED.           07/01/2022            06/30/2023              60.50 On-Campus         Research

     PRED.           07/01/2023           06/30/2024              61.00 On-Campus         Research
     PRED.           07/01/2024           06/30/2025               61.50 On-Campus        Research

     PRED.           07/01/2025           06/30/2026               62.50 On-Campus        Research
    PRED.            07/01/2026           06/30/2027               62.50 On-Campus        Research

    FINAL            07/01/2021           06/30/2022               26.00 Off-Campus       Research
    PRED.            07/01/2022           06/30/2027               26.00 Off-Campus       Research
     FINAL           07/01/2021            06/30/2022              61.50 On-Campus         Research DOD
                                                                                           Contract
    PRED.            07/01/2022            06/30/2023              62.50 On-Campus         Research DOD
                                                                                           Contract
    PRED.             07/01/2023           06/30/2024              63.00 On-Campus         Research DOD
                                                                                           Contract
    PRED.             07/01/2024           06/30/2025              63.50 On-Campus         Research DOD
                                                                                           Contract
    PRED.             07/01/2025            06/30/2026             64.50 On-Campus         Research DOD
                                                                                           Contract

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    ORGANIZATION: University of Massachusetts
    at Amherst AGREEMENT DATE: 9/9/2022

    TYPE             FROM                 TO                 RATE(%) LOCATION          APPLICABLE TO
    PRED.            07/01/2026           06/30/2027           64.50 On-Campus         Research DOD
                                                                                       Contract
    FINAL             07/01/2021          06/30/2022           28.00 Off-Campus         Research DOD
                                                                                        Contract
    PRED.            07/01/2022           06/30/2027           28.00 Off-Campus         Research DOD
                                                                                        Contract
    FINAL            07/01/2021           06/30/2022            49.00 On-Campus         Instruction
    PRED.            07/01/2022           06/30/2027            50.00 On-Campus         Instruction
    FINAL            07/01/2021           06/30/2022            26.00 Off-Campus        Instruction
    PRED.            07/01/2022           06/30/2027            26.00 Off-Campus        Instruction
    FINAL            07/01/2021           06/30/2022            31.50 On-Campus         OSA
    PRED.            07/01/2022           06/30/2027            32.00 On-Campus         OSA
    FINAL            07/01/2021           06/30/2022            26.00 Off-Campus        OSA
    PRED.            07/01/2022           06/30/2027                                    OSA
                                                               26.00 Off-Campus
     PROV.           07/01/2027           Until Amended         62.50 On-Campus        Research
     PROV.           07/01/2027           Until Amended         26.00 Off-Campus       Research
     PROV.            07/01/2027          Until Amended                                Research DOD
                                                                64.50 On-Campus
                                                                                       Contract
     PROV.            07/01/2027          Until Amended         28.00 Off-Campus       Research DOD
                                                                                       Contract
    PROV.             07/01/2027          Until Amended         50.00 On-Campus        Instruction
    PROV.            07/01/2027           Until Amended         26.00 Off-Campus       Instruction
    PROV.            07/01/2027           Until Amended        32.00 On-Campus         OSA
    PROV.            07/01/2027           Until Amended        26.00 Off-Campus        OSA


     *BASE

      Modified total direct costs, consisting of all direct salaries and wages,
      applicable fringe benefits, materials and supplies, services, travel and up to
      the first $25,000 of each subaward (regardless of the period of performance of
      the subawards under the award). Modified total direct costs shall exclude
      equipment, capital expenditures, charges for patient care, rental costs,
      tuition remission, scholarships and fellowships, participant support costs and
      the portion of each subaward in excess of $25,000. Other items may only be
      excluded when necessary to avoid a serious inequity in the distribution of
      indirect costs, and with the approval of the cognizant agency for indirect
      costs.

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    ORGANIZATION: University of Massachusetts
    at Amherst AGREEMENT DATE: 9/9/2022


    SECTION II: SPECIAL REMARKS
    TREATMENT OF FRINGE BENEFITS:

    Treatment of Fringe Benefits: Fringe benefits applicable to direct salaries
    and wages are treated as direct costs.
    TREATMENT OF PAID ABSENCES
    Vacation, holiday, sick leave pay and other paid absences are included in
    salaries and wages and are claimed on grants, contracts and other agreements
    as part of the normal cost for salaries and wages. Separate claims are not
    made for the cost of these paid absences.

    OFF-CAMPUS DEFINITION: The off-campus rate will apply for all activities: a)
    Performed in facilities not owned by the institution and where these facility
    costs are not included in the F&A pools; or b) Where rent is directly
    allocated/charged to the project(s). Actual costs will be apportioned between
    on-campus and off-campus components. Each portion will bear the appropriate
    rate.
    Fringe benefits are claimed using approved rates contained in the
    Massachusetts State-Wide Cost Allocation Plan. The following additional
    fixed fringe benefit charges are approved for the University:

                           FYE 06/30/23
    Workers' Comp. Ins.   0.19%(S&W)
    Health & Welfare(1) : $17.00 per week - GEO
                          $19.00 per week - Post Doc. Fellows through 12/31/21
                          $20.00 per week - Post Doc. Fellows 1/1/22 - 6/30/22
                          $16.50 per week - All Other
    Sick Leave Bank       0.20%(S&W)
    Post Doc. Fellows     13.78%   (Inclusive of health insurance, terminal leave,
    payroll tax and worker's Comp. Ins.)
    Graduate Research Assistants 15.63% (Inclusive of health insurance)

    (1) Health and Welfare - The State negotiated rate with collective bargaining
    units. The rate supports dental, and in some cases vision, health benefits
    which are provided directly by health and welfare trust funds to employees of
    the Commonwealth of Massachusetts and the University of Massachusetts.



    ** A fringe benefit rate proposal based on actual expenses for fiscal year
    ended June 30, 2022 is due by December 31, 2022.

    ** An indirect cost proposal based on actual expenses for fiscal year ended
    June 30, 2026 is due by December 31, 2026.




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    ORGANIZATION: University of Massachusetts at
    Amherst AGREEMENT DATE: 9/9/2022


    Equipment means tangible personal property (including information technology
    systems) having a useful life of more than one year and a per-unit acquisition
    cost which equals or exceeds the lesser of the capitalization level
    established by the non-Federal entity for financial statement purposes, or
    $5,000.




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    ORGANIZATION: University of Massachusetts at
    Amherst AGREEMENT DATE: 9/9/2022



    SECTION III: GENERAL

    A.   LIMITATIONS:
    The rates in this Agreement are subject to any statutory or administrative limitations and apply to a given grant,
    contract or other agreement only to the extent that funds are available. Acceptance of the rates is subject to the
    following conditions: (1) Only costs incurred by the organization were included in its facilities and administrative cost
    pools as finally accepted: such costs are legal obligations of the organization and are allowable under the governing cost
    principles; (2) The same costs that have been treated as facilities and administrative costs are not claimed as direct
    costs; (3) Similar types of costs have been accorded consistent accounting treatment; and (4) The information provided by
    the organization which was used to establish the rates is not later found to be materially incomplete or inaccurate by the
    Federal Government. In such situations the rate(s) would be subject to renegotiation at the discretion of the Federal
    Government.

    B.   ACCOUNTING CHANGES:
    This Agreement is based on the accounting system purported by the organization to be in effect during the Agreement
    period. Changes to the method of accounting for costs which affect the amount of reimbursement resulting from the use of
    this Agreement require prior approval of the authorized representative of the cognizant agency. Such changes include, but
    are not limited to, changes in the charging of a particular type of cost from facilities and administrative to direct.
    Failure to obtain approval may result in cost disallowances.
    C.   FIXED RATES:
    If a fixed rate is in this Agreement, it is based on an estimate of the costs for the period covered by the rate. When the
    actual costs for this period are determined, an adjustment will be made to a rate of a future year(s) to compensate for
    the difference between the costs used to establish the fixed rate and actual costs.
    D.   USE BY OTHER FEDERAL AGENCIES:
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    Part 200 (2 CFR 200), and should be applied to grants, contracts and other agreements covered by 2 CFR 200, subject to any
    limitations in A above. The organization may provide copies of the Agreement to other Federal Agencies to give them early
    notification of the Agreement.
    E.   OTHER:
    If any Federal contract, grant or other agreement is reimbursing facilities and administrative costs by a means other than
    the approved rate(s) in this Agreement, the organization should (1) credit such costs to the affected programs, and (2)
    apply the approved rate(s) to the appropriate base to identify the proper amount of facilities and administrative costs
    allocable to these programs.

    BY THE INSTITUTION:                                                       ON BEHALF OF THE FEDERAL GOVERNMENT:

    University of Massachusetts at Amherst
                                                                              DEPARTMENT OF HEALTH AND HUMAN SERVICES

    (INSTITUTION)                                                             (AGENCY)                 Digitally signed by Darryl W. Mayes -S

                                                                             Darryl W. Mayes -S
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                                                                                                       cn=Darryl W. Mayes -S
                                                                                                       Date: 2022.09.23 14:15:25 -04'00'


    (SIGNATURE)                                                               (SIGNATURE)
             Andrew Mangels
                                                                              Darryl W. Mayes
    (NAME)                                                                    (NAME)

              Vice Chancellor A&F
                                                                              Deputy Director, Cost Allocation Services

    (TITLE)                                                                   (TITLE)

             9/27/2022
                                                                              9/9/2022
    (DATE)                                                                    (DATE) 7069



                                                                              HHS REPRESENTATIVE:    Edwin Miranda

                                                                              Telephone:             (212) 264-2069




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